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                      UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF OHIO

                             EASTERN DIVISION


In re NATIONAL PRESCRIPTION OPIATE )     No. 1:17-md-2804
LITIGATION                         )
                                   )     Judge Dan A. Polster
                                   )
This Document Relates To:          )
                                   )
       ALL ACTIONS.                )
                                   )



                      NOTICE OF CHANGE OF ADDRESS
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       TO: THE CLERK OF THE COURT AND ALL PARTIES

       PLEASE TAKE NOTICE that, effective February 1, 2023, the law firm of Robbins Geller

Rudman & Dowd LLP changed its address from 120 East Palmetto Park Road, Suite 500, Boca

Raton, Florida 33432 to:

                                    225 NE Mizner Boulevard
                                    Suite 720
                                    Boca Raton, Florida 33432

       The telephone and facsimile numbers and e-mail and website addresses will remain the

same. Please revise your records accordingly.

 DATED: March 2, 2023                           ROBBINS GELLER RUDMAN
                                                 & DOWD LLP
                                                PAUL J. GELLER
                                                MARK J. DEARMAN
                                                DOROTHY P. ANTULLIS


                                                             s/Mark J. Dearman
                                                            MARK J. DEARMAN

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                                                Attorneys for Plaintiffs Baltimore County,
                                                Maryland; Broward County, Florida; Caroline
                                                County, Maryland; Cass County, North Dakota;
                                                Central States, Southeast and Southwest Areas
                                                Health & Welfare Fund; Chester County,
                                                Pennsylvania; City of Bowie, Maryland; City of
                                                Coconut Creek, Florida; City of Concord, New
                                                Hampshire; City of Delray Beach; City of Dover,
                                                New Hampshire; City of Frederick, Maryland;
                                                City of Grand Forks, North Dakota; City of Los
                                                Angeles, California; City of Phoenix, Arizona;
                                                Cleveland Bakers and Teamsters Health and
                                                Welfare Fund; Consumer Protection Division,
                                                Office of the Attorney General of Maryland;

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                                    County of Brevard, Florida; County of
                                    Cheboygan; County of Marin; County of
                                    Monroe, Michigan; County of Napa, California;
                                    County of Oakland; County of San Luis Obispo,
                                    California; County of Santa Cruz, California;
                                    County of Sonoma, California; County of Tulare,
                                    California; County of Wayne; Detroit Wayne
                                    County Mental Health Authority; Frederick
                                    County, Maryland; Garrett County, Maryland;
                                    Harford County, Maryland; Mayor and Common
                                    Council of Westminster, Maryland; Mayor and
                                    Council of Rockville, Maryland; Montgomery
                                    County, Maryland; National Roofers Union &
                                    Employers Joint Health & Welfare Fund; Pipe
                                    Fitters Local Union No. 120 Insurance Fund;
                                    Talbot County, Maryland; The City and County
                                    of San Francisco, California; The City of Fort
                                    Lauderdale, Florida; The City of Pompano
                                    Beach, Florida; The City of San Diego; The
                                    County Commission of Monroe County, Florida;
                                    The People of the State of California




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2023, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system. Copies will be served upon counsel of record by, and may

be obtained through, the Court CM/ECF system.




                                                             s/Mark J. Dearman
                                                            MARK J. DEARMAN

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